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            Exhibit 5
Tesla Fraud of Exposing Tesla and
           Elon Musk




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                                Martin Tripp on Twitter: "@Don_Bue        222-4 SoFiled
                                                                   @TiffanyPhoto1         10/08/20
                                                                                   Tesla can’t shut it downPage   6 of 6
                                                                                                           😎" / Twitter


                                     Tweet

                                     Martin Tripp @tripp_martin · 3h
                                     While still a little work in progress, the core is here. Please feel free to check
                                     out my new website which goes into the fraud and abuse of Tesla and Musk.

                                     tesla-fraud.ch

                                     Feel free to dm me with suggestions. I am new at this, so bear with me.
                                     Posts DAILY!
                                           1                    3                       8


                                     Bü @Don_Bue · 2h
                                     Out of pure curiosity why the swiss domain?
                                           1                                            1


                                     Martin Tripp
                                     @tripp_martin

                         Replying to @Don_Bue and @TiffanyPhoto1

                         So Tesla can’t shut it down
                         7:22 AM · Oct 6, 2020 · Twitter for iPhone


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